         Case 23-03141 Document 70 Filed in TXSB on 09/29/23 Page 1 of 2


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In Re:                                          §
                                                §
                                                     Case No. 22-32998
HOUSTON REAL ESTATE PROPERTIES,                 §
LLC,                                            §
     Debtor.                                    §    Chapter 7


JOHN QUINLAN, OMAR KHAWAJA, AND                 §
OSAMA ABDULLATIF,                               §
     Plaintiffs,                                §
v.                                              §
                                                §
JETALL COMPANIES, INC.,                         §    Adversary Cause No. 23-03141
ARABELLA PH 3201 LLC, 9201                      §
MEMORIAL DR. LLC, 2727 KIRBY 26L                §
LLC, TEXAS REIT LLC, DALIO                      §
HOLDINGS I, LLC, DALIO HOLDINGS II,             §
LLC, HOUSTON REAL ESTATE                        §
PROPERTIES, LLC, SHAHNAZ                        §
CHOUDHRI, ALI CHOUDHRI,                         §
SHEPHERD-HULDY DEVELOPMENT I,                   §
LLC, SHEPHERD-HULDY                             §
DEVELOPMENT II, LLC, GALLERIA                   §
LOOP NOTE HOLDER LLC, A. KELLY                  §
WILLIAMS, MAGNOLIA BRIDGECO,                    §
LLC, and CYPRESS BRIDGECO, LLC,                 §
      Defendants.                               §


                                CERTIFICATE OF SERVICE


        The undersigned hereby certifies that the Motion to Expunge Notices of Lis Pendens and
Supplemental Notices of Lis Pendens filed at Docket Number 58 was served on interested parties
in the manner listed below on September 27, 2023.

23-03141 Notice was electronically mailed, via the court’s ECF noticing system to:

Thomas Michael Ballases
Steven A. Leyh
Angeline Vachris Kell
Hoover Slovacek LLP
5051 Westheimer, Ste 1200
Houston, TX 77056
on behalf of Plaintiffs John Quinlan, Omar Khawaja and Osama Abdullatif
ballases@hooverslovacek.com, leyh@hooverslovacek.com and kell@hooverslovacek.com


                                                                                     PAGE 1 OF 2
        Case 23-03141 Document 70 Filed in TXSB on 09/29/23 Page 2 of 2


Matthew W. Bourda
Mcdowell Hetherington LLP
1001 Fannin, Suite 2400
Houston, Texas 77002
on behalf of Creditor Cypress BridgeCo, LLC and Magnolia BridgeCo, LLC
matthew.bourda@mhllp.com

Melissa S Hayward
Hayward PLLC
10501 N. Central Expwy.
Suite 106
Dallas, TX 75231
Melissa S Hayward
on behalf of Defendant Houston Real Estate Properties, LLC
MHayward@HaywardFirm.com

Ron Satija
Hayward PLLC
7600 Burnet Road
Ste 530
Austin, TX 78757
on behalf of Defendant Houston Real Estate Properties, LLC
rsatija@haywardfirm.com

                                                      Respectfully Submitted,

                                                      /s/ James Q. Pope
                                                      James Q. Pope
                                                      THE POPE LAW FIRM
                                                      TBN: 24048738
                                                      6161 Savoy Dr, Suite 1125
                                                      Houston, Texas 77036
                                                      Phone: 713.449.4481
                                                      Fax: 281.657.9693
                                                      jamesp@thepopelawfirm.com
                                                      Attorney for Defendants




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